                                                              U.S. DISTRICT COURT
 Case 4:19-cv-00414-A Document 131 Filed 08/12/19   Page 1NORTHERN
                                                           of 29 PageID
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                  IN THE UNITED STATES DISTRICT OURT
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                           FORT WORTH DIVISION
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AMERICAN AIRLINES, INC.               §
                                      §
           Plaintiff,                 §
                                      §
vs.                                   §   NO. 4:19-CV-414-A
                                      §
TRANSPORT WORKERS UNION OF            §
AMERICA, AFL-CIO, ET AL.,             §
                                      §
              Defendants.             §


                            MEMORANDUM OPINION

      Came on for consideration the above-captioned action

wherein American Airlines,     Inc. is plaintiff and Transport

Workers Union of America, AFL-CIO ("TWU"),          International

Association of Machinists & Aerospace Workers          ("IAM"), and

Airline Mechanic and Related Employee Association TWU/IAM (the

"Association") are defendants. In its complaint, plaintiff

prayed for a permanent injunction against defendants. The court,

having considered the pleadings, evidence, post-trial briefs,

and record,    finds that such relief should be granted and a

permanent injunction basically in the form of plaintiff's

proposed permanent injunction should be entered against

defendants.
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                                                     I.

                                              Background

         On May 20, 2019, plaintiff initiated this action by filing

its complaint. Doc.' 1. Plaintiff alleged: To gain leverage in

contract negotiations, defendants' members changed their

behavior in a concerted fashion by, for example, taking an

unusual amount of time to repair aircraft and refusing to work

overtime and take maintenance field trips' to repair aircraft.

    Id. at 2,    ~   2 & 3,     ~   4. The concerted slowdown is causing flight

delays and cancellations. Id. at 3,                          ~   5. Defendants failed to

take any steps to stop the concerted behavior; in fact,                                       they

have encouraged it. Id. at 4, , 8.

         Plaintiff brought a single cause of action against

defendants for violation of Section 2, First of the Railway

Labor Act ("RLA"), 45 U.S.C.                     §   152, First, and requested a

preliminary and permanent injunction enforcing defendants'

duties under that statute. Id. at 29-34. On May 21, 2019,

plaintiff filed a motion for preliminary injunction, and, by

order signed the same day, the court advised the parties that it

intended to combine the hearing on the motion with the trial on



1
 The "Doc.~" references are to the numbers assigned to the referenced items on the docket in this
Case No. 4: 19-CV -414-A.
2
 A field trip is a trip by mechanics to another location where plaintiff does not have its own readily-
available mechanics or pmts in response to a mechanical issue at that location. Doc. 75 at 15, 1[30.


                                                     2
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    intended to combine the hearing on the motion with the trial on

    the merits. Docs. 17, 24. Plaintiff then moved on June 14, 2019,

    for entry of a temporary restraining order, which the court

entered the same day (the "TRO"). Docs. 58, 65. The court

ultimately held the combined trial on July 1, 2019. On July 10,

2019, plaintiff requested that the court enter a modified TRO

based on its allegation that defendants failed to comply with

the original TRO, and the court entered a modified TRO the same

day (the "modified TRO"). Docs. 108, 111.

                                                  II.

                                       Findings of Fact 3

         Based on the evidence and the record, the court makes the

following findings of fact:

A.      History and Nature of the Parties' Dispute

         1.     Plaintiff is a "common carrier by air" as defined in

                the Federal Aviation Act of 1958 and a "carrier• as

                defined by the RLA. Doc. 75 at 9,                      t   1.

        2.      Plaintiff, in its current form,                     is the product of a

                merger between plaintiff and US Airways,                           Inc.    ( •us

                Airways"). Id. at            t   2.




3
  To the extent that anything in this opinion under the heading "Background" or "Conclusions of Law" is
a finding of fact, the cou1t hereby adopts it as such; conversely, to the extent that anything under the
"Findings of Fact" section is a conclusion of law, the court adopts it as such.


                                                      3
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     3.    Plaintiff employs mechanics and related employees who

           support them. Id. at 9-10,      ~   3.

     4.    Before the merger, TWU represented plaintiff's

          mechanics and related employees, and IAM represented

     5.    those of US Airways. Id. at 10,          ~   4. After the merger,

          TWU and IAM formed the Association to represent the

           combined set of employees. Id.

     6.   The collective bargaining agreements              ("CBAs") between

          the pre-merger companies and TWU and IAM currently

          govern the pay rates, rules, and working conditions

           for plaintiff's mechanics and related employees. Id.

          at 11,     ~   7.

     7.   In 2015, plaintiff and the Association began

          negotiating new CBAs to cover the mechanics and

          related employees represented by the Association. Id.

          at   ~   9. The parties held their last CBA negotiating

          session on April 23-25, 2019. Id. at 13,              ~   20.

    8.    On February 4, 2019, CBS News aired a news segment

           (the "CBS News report")      in which a reporter

          interviewed airline mechanics who claimed to feel

          pressured not to report safety concerns. Ex. 170.

    9.    TWU Local 591 represents about 3,600 of plaintiff's

          mechanics and related employees. Doc. 75 at 18, , 47.

          On February 4, 2019, it released a letter to its

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           membership stating,     "[plaintiff] needs to hear loud

           and clearly from this membership that the time to

           deliver the best contract is NOW!"        (the "February 4

           letter•) . Id. at 12, , 13; ex. 4.

     10.   lAM District Lodge 142 is an intermediate-level lAM

           affiliate that represents legacy mechanics and related

           employees of US Airways. Doc. 75 at 17, , 38. Its

           president and general chairman, David Supplee,

           distributed on March 8, 2019, a letter on Association

           letterhead calling for members to "stop all voluntary

           actions•     (the "March 8 letter•). Ex. 7; ex. 62 at

           11-12'   ,   29-30.

     11.   On March 21, 2019, plaintiff sent to certain TWU and

           lAM officials a letter requesting that the Association

           rescind the March 8 letter and instruct its members to

           return to normal practices and otherwise maintain the

           status quo. Doc. 75 at 16, , 35; ex. 9.

    12.    The Association responded on March 26, 2019, by

           sending plaintiff a letter denying that the March 8

           letter was an Association communication or directive

           and explaining that it took down the letter. Doc. 75

           at 16, , 36; ex. 11.




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    B.     Discussion and Further Fact Findings

           The parties stipulated to a list of factual issues in their

    June 18, 2019 joint pretrial order under the heading "Agreed

    List of the Ultimate Issues of Fact .                              • Doc. 75 at 19. On

    June 28, 2019, the court issued a memorandum opinion setting

    forth conclusions of law as to certain of the legal issues

    stipulated in the same pretrial order.' Doc. 100. Considering

    those conclusions, it is unnecessary to resolve issues of fact

numbers 1.a, 2, and 3. The pertinent portions of the rest of the

    issues read as follows:

               1.   Whether the Defendants' members have changed
          their normal working behavior on a concerted basis in
          a manner that violates Section 2, First of the RLA
          resulting in a disruption to Plaintiff's operations
          and/or interstate commerce? .
               1.b         [I]f Defendants have a legal
          obligation under Section 2, First of the RLA to take
          all reasonable measures to stop concerted activity by
          their members even if Defendants have not participated
          in, authorized or ratified it, have they done so?

               4.   If Plaintiff is required to demonstrate that
          injunctive relief is the only practical and effective
          means of enforcing the Defendants' obligations under
          Section 2, First of the RLA, has it done so?
               5.   Whether the requested injunction would
          disserve the public interest?

Doc. 75 at 19.




4
    The court adopts and incorporates such memorandum opinion by reference into this opinion.


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         The court makes the following findings as to the proper

    answers to those factual issues:

    Factual Issue No. 1 ("Whether the Defendants' members have
    changed their normal working behavior on a concerted basis in a
    manner that violates Section 2, First of the RLA resulting in a
    disruption to Plaintiff's operations and/or interstate
    commerce?" ) :

         1.      Concerted Activity

         Defendants' members have reduced their normal working

behavior in a concerted manner. Plaintiff's data indicate that

they volunteered for less work in recent months. Specifically,

the percentage of field trips with no volunteers increased

dramatically at certain airports after the dissemination of the

March 8 letter. Ex. 45 at 56-57, • 55. Mechanics at certain

airports accomplished, on average,                        less routine overnight

maintenance work per day, and deferred more such work, beginning

in January 2019. Ex. 53 at 12. 5 And, the following key

measurements increased above historical norms starting February

4, 2019, the date of the February 4 letter:                              (1)   the daily number

of outstanding minimum equipment list issues                               ("MELs")-

maintenance issues temporarily deferred by mechanics that, if

left unfixed, may result in the pulling of an aircraft out of




5
  Plaintiff alleged that the ovemight work at the above-mentioned airports is performed exclusively by
defendants' members. Doc. 128 at 3 n.l. The fact that plaintiff only showed trends at certain airports does
not negate the implication of plaintiffs evidence that defendants' members conducted a concerted
slowdown.


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    service-and (2) the daily number of unscheduled aircraft out of

    service ("AOS") at 7:00a.m. Ex. 45 at 26-30,                                 ~~   25-28 & 44-47,

n     42-44; see also tr. 32:23-25                     &   33:1-6. In addition,               the

proportion of MELs being resolved after eight days increased

above historical norms starting in February 2019. Ex. 53 at 14.

    In short, plaintiff's mechanics, whom defendants represent, are

deferring more work than they used to.

         Those trends are not the result of coincidence or anything

else that could reasonably explain the slowdown in productivity.

To eliminate that possibility, plaintiff's expert, Darin Lee

    ("Lee"), conducted a regression analysis' that measured the

degree to which the alleged slowdown can be explained, all else

being equal, by whether those measurements-the daily number of

outstanding MELs and unscheduled AOS at 7:00 a.m.-were observed

after the occurrence of certain of the above-mentioned

communications or events in the parties' dispute.' Lee also



''A regression analysis measures the impact of a change in one variable (the independent variable) on the
change in another (the dependent variable) holding constant other things that could also explain that
change. Sec ex. 45 at 21-23, ~ 18. The goal is to allow statisticians to conclude whether a change in the
independent variable causes a change in the dependent variable. The degree of an independent variable's
impact on a dependent variable is measured by a "coefficient." If the coefficient is positive, for example,
it means that an increase in the value of the independent variable causes an increase in the value of the
dependent variable. The regression analysis also allows statisticians to calculate the probability that the
coefficient is not the result of random chance and is, ther·efore, "statistically significant," as measured by
a "confidence level." For example, when someone says that a coefficient is statistically significant at the
99% confidence level, he means that there is a 99% probability that the measured impact of the
independent variable on the dependent variable is not the result of random chance. See id. at 23, ~ 19.
7
  He did that by including in his regression three independent dummy variables (which take the value of 1
if a condition is met and 0 if it is not) that each took the value of I for the daily number of MELs and
unscheduled AOS at 7:00a.m. observed during the following date ranges, coinciding with ce1tain of the

                                                      8
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controlled for other factors that are known to impact those

measurements,           including the number of maintenance--related issues

found by pilots ("pilot write-ups") and the daily number of

scheduled mainline departures. Ex. 45 at 32-33,                                  ~,   31-32     &   48,     ~


46; ex. 46 at 17. 8 The regressions, in a nutshell, show a

statistically significant (i.e., not random) increase in the

daily number of outstanding MELs and unscheduled AOS at 7:00

a.m. after each of those communications and events, even when

everything else that could reasonably explain those trends is

held constant. Ex. 45 at 36-37, '                        35 & 49-50, ~ 48; ex. 46 at

17. 9 It is reasonable to conclude that plaintiff's mechanics are

the culprit. Mechanics can decrease plaintiff's productivity by

reducing the amount of work they accomplish. Tr. 29:22-23. They

can, for example, take longer to troubleshoot an aircraft or




above-mentioned union communications and events: (I) February 4 to March 7, 2019, (2) March 8 to
April 25, 2019, and (3) April 26 (the day after the patties' last negotiating session ended) to May 13,
2019. hL at 31, ~ 30. In his repott supporting plaintiffs motion for temporary restraining order, Lee added
additional dummy variables for the following date ranges: (1) April 26 to May 20, 2019 (the date plaintiff
filed its complaint), (2) May 21 to June 6, 2019 (the date of an Association letter directing members to
"[r]emain unified and[] not back down from telling your management that [plaintiffs] negotiators need
to get back to the table and get the deal done," ex. 38), and (3) June 7 to June 12,2019. Ex. 46 at 17. Of
course, what matters is not whether those communications and events caused the slowdown, but whether
defendants' members conducted a eoneetted slowdown to begin with.
8
  Lee's regression also included vat·iables designed to control for the following factors: aircraft age,
aircraft operating intensity, passenger count (but only for the MEL regression), aircraft size, holidays,
system-wide disruptive events (e.g., hail or lightning), time to complete jobs, mechanic headeount, the
weather, fleet composition, week, and day of the week. Ex. 45 at 31-35, 11~ 31-33 & 48, 1]46; ex. 46 at 17.
9
  To put it in jargon, the coefficients for each of the above-mentioned dummy variables is positive and
statistically significant at the 99% confidence level. Ex. 45 at 36-37, ~ 35 & 49-50, 1]48; ex. 46 at 17.

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research the parts necessary to complete a project. Tr. 30:1-7.

 It follows that the only reasonable explanation for the slowdown

 is concerted action on the part of plaintiff's mechanics and

related employees.

           Defendants could have refuted those facts by arguing that

Lee failed to consider some other factor that could also explain

the slowdown, but they failed to do anything of the sort. Their

criticisms instead reflect a misunderstanding of statistics and

Lee's analysis. They argued that the increase in the daily

number of outstanding MELs was due primarily to an increase in

pilot write-ups. Doc. 125 at 3. Lee controlled for that,

however; his analysis shows an increase in the daily number of

outstanding MELs even holding pilot write-ups constant.

Defendants also contended that plaintiff has more flights in the

summertime, which can cause an increase in mechanical problems,

thereby suggesting that season or departure volume might have

caused the increase. See id. at 2 n.2. Lee controlled for that,

too. 10 Defendants also observed that the time it takes to

complete an assigned task varies based on aircraft and equipment

conditions. Id. Lee controlled for those factors as well. 11 They




10
  Spccitlcally, he controlled for the daily number of scheduled mainline departures and week of the year.
Ex. 45 at 32,1131 &35, ~33;ex.46 at 17.
11
     In particular, he controlled for aircraft size and age. See ex. 45 at 32-33, 11113 1-32; ex. 46 at 17.

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vaguely hinted that the random differences from job to job

 (specifically, the tools available and the time at which the

 task was assigned) might have caused the slowdown. See id. But,

 the regression results essentially rule out random chance as a

 cause of the slowdown. Defendants also suggested that the CBS

News report may have caused the slowdown. Id. at 12; see also

ex. 88 at 21-23, ,, 61-62. Defendants did not allege where that

story was published or aired or how many people saw it. In any

case, the notion that a seven-minute news story caused the

entire slowdown is implausible. It is substantially more likely

that it was caused by heated, years-long contract negotiations

that eventually reached a boiling point."

        Nor does anything else in the record suggest that something

else could have caused the slowdown. As stated, Lee controlled

for everything that could reasonably explain the slowdown. And,

there were no changes in plaintiff's maintenance program or

operations that could explain the decline in productivity.

Tr. 29:8-19,         38:9-12 & 44:15-21. Plaintiff has made no change in

recent months in how much overtime it offers or how it pays

overtime. Id. at 41:5-8. Nor has it changed its policies or




12
  Defendants also pointed to publications allegedly distributed by plaintiff promoting June 2019 as
"National Safety Month." Doc. 125 at 12. Those publications would not explain the decline in
productivity that occurred before that month.


                                                   11
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practices regarding field trips or field trip compensation since

February 2019. Id. at 39:21-24.

      In a last-ditch effort to raise issues with plaintiff's

evidence, defendants argued that the court cannot rely on

statistics, citing Air Line Pilots Association v. United

Airlines, 802 F.2d 886     (7th Cir. 1986). That case does nothing

to support their argument. In that case, the Seventh Circuit

suggested, in the context of a "sick-out• by pilots,           that

statistical evidence showing an increased use of sick leave did

not rise to the level of "clear and convincing evidence•

required by Section 6 of the Norris-LaGuardia Act to show the

union's involvement in the sick-out. Id. at 905-06. Plaintiffs

can show that defendants• members engaged in a concerted

slowdown without showing that defendants were involved in it. In

any event, plaintiff's evidence does more than show an increase

in the daily number of outstanding MELs and unscheduled AOS at

7:00 a.m.: it also rules out every other reasonable explanation

for the slowdown.

     For those reasons, the court finds that defendants• members

have changed their normal working behavior in a concerted

fashion.




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         2.      Disruption to Plaintiff's Operations and Interstate
                 Commerce

         The rate of scheduled flights cancelled 13 and delayed 14 for

maintenance-related reasons increased above historical norms

after February 4, 2019. Ex. 45 at 58-59,                             ~   58 & 63-65,         1   62;

ex. 46 at 5-9, ,, 6-9. Those delays and cancellations

undoubtedly disrupted commerce and plaintiff's operations. With

respect to each of those measurements, Lee conducted largely the

same regressions as above to determine whether those increases

were the result of concerted activity or something else,

generally controlling for the same factors. See ex. 45 at 60-61,

~    60 & 66,      ~   65. 15 The results show that the cancellation rate

increased to a statistically significant degree after the March

8 letter and subsequent events. Id. at 61-62,                                 ~~   61;

ex. 46 at 18. 16 The delay rate, along with other measurements of




13
  Specifically, the seven-day moving average of the proportion of plaintiffs scheduled mainline flights
cancelled for maintenance-related reasons, excluding cancellations related to the grounding of the 737
Max plane, as well as those due to collision with ground equipment, damage during aircraft relocation,
and accidental slide deployment (the "cancellation rate"). Ex. 45 at 59.
14
  Specifically, the seven-day moving average of the propmtion of mainline tlights delayed for more than
two hours beyond scheduled depa1ture for maintenance-related reasons (the "delay rate").l<:L at 65.
15
  The independent dummy variables for whether an observation occurred during one of the above-
mentioned time periods were the same, but there were some minor differences in the control variables
used. See id. at 59-61, ~~ 59-60 & 65-66, 11~ 64-65; ex. 46 at 18. The emut need not explain those
differences in detail. The bottom line is that Lee controlled for all of the factors one would reasonably
expect to disrupt plaintiffs operations.
16
  In other words, the coefficients for the dummy variables for periods following March 8 were positive
and statistically significant at the 99% confidence level. Ex. 45 at 61-62, ~ 61; ex. 46 at 18.


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delay'', also increased to a statistically significant degree

after certain of the events tested. Id. at 66-68,                                    ~   66; ex. 46

 at 18. 18 In short, more flights were cancelled or delayed due to

maintenance issues after key events in the parties' dispute,

even after controlling for every other reasonable explanation.

Critically, the rise was not due to random chance. The only

reasonable explanation that can be drawn from the data is that

the delays and cancellations were caused by concerted activity

on the part of defendants' members.

        The parties do not dispute that plaintiff engages in

interstate commerce. See doc. 75 at 9,                            ~   1 (stipulating that

plaintiff is a "common carrier by air" as defined in the FAA and

a "carrier" as defined by the RLA); 45 U.S.C.                                §   181 (extending

RLA to "every common carrier by air engaged in interstate or

foreign commerce"). For that reason, the delays and

cancellations caused by that concerted activity likely disrupted

interstate commerce."




17
  Specitlca\ly, the delay rates for any length of time and tor 15 minutes, as well as maintenance-related
departure delay minutes per flight. Ex. 45 at 66, 11 64.
18
  The results and their statistical significance varied depending on the dependent variable (i.e., the
measme of delay) tested. The colllt will not discuss those differences at length, but they are displayed in
the tables on page 68 of Exhibit 45 and page 18 of Exhibit 46.
19
  The court is not conceding as a matter of law that plaintiff must show some connection to interstate
commerce, as opposed to commerce generally, but the pa1ties have stipulated to that as an issue of fact for
the court to resolve.


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      For those reasons, the court finds that the concerted

behavior of defendants' members disrupted plaintiff's operations

and interstate commerce.

Factual Issue No. 1.b ("[I]f Defendants have a legal obligation
under Section 2, First of the RLA to take all reasonable
measures to stop concerted activity by their members even if
Defendants have not participated in, authorized or ratified it,
have they done so?"):

     Defendants failed to exert every reasonable effort to

prevent or stop their members' concerted activity. They

suggested that they had no duty, or perhaps a lesser duty, to

prevent the slowdown because they did not know it was happening

until plaintiff filed suit. See doc. 145 at 14-15.           The March 8

letter commanding defendants' members to "stop all voluntary

actions• gave defendants all the notice they needed to "exert

every reasonable effort• to prevent the slowdown. Timothy Klima,

who oversees certain of IAM's collective bargaining activities,

understood that the letter called for a job action. Doc. 75 at

17, , 38; ex. 47; ex. 54 at 9, , 21. Defendants should have

known that at least some of their members might follow the

letter's instructions. Nonetheless, the evidence does not show

that they did anything more in response to that letter than to

communicate that it was unauthorized and take it down. See ex.

11; ex. 62 at 12, , 31; tr. 162:6-13. Defendants never alleged,

nor does the record suggest, that they did anything in response

to that letter to prevent a concerted slowdown,         including

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directing their members to disregard the letter's command and

maintain normal operations. As a result,           the court finds that

defendants failed to exert every reasonable effort to prevent or

stop their members' concerted behavior.

Factual Issue No. 4 ("If Plaintiff is required to demonstrate
that injunctive relief is the only practical and effective means
of enforcing the Defendants' obligations under Section 2, First
of the RLA, has it done so?"):

      Plaintiff has shown that an injunction is the only

practical and effective means of enforcing defendants' duty

under Section 2, First of the RLA to "exert every reasonable

effort• to restore the status quo. As explained, defendants'

members have engaged in a concerted slowdown, disrupting

commerce and plaintiff's operations. Those activities undermine

plaintiff's bargaining position, and any CBA arising out of the

parties' negotiations in the absence of an injunction would

likely be the result of that weakened position, rather than good

faith bargaining.     See United Air Lines, Inc. v. Int'l Ass'n of

Machinist & Aerospace Workers ("IAM"), 243 F.3d 349,           365 (7th

Cir. 2001); Int'l Ass'n of Machinists & Aerospace Workers v.

Transportes Aereos Mercantiles Pan Americandos, S.A.           ("TAMPA"),

924 F.2d 1005, lOll (11th Cir. 1991). Nor would plaintiff's

discipline of defendants' members for engaging in a slowdown be




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a practical or effective means of enforcing defendants• duty. As

the Seventh Circuit explained:

       [R]equiring [plaintiff] to take efforts to end the
      slowdown would not be an "effective means" of
      enforcing [defendant's] duty to "exert every
      reasonable effort to make and maintain agreements";
      rather, it would be requiring [plaintiff] to assume
      [defendant's] duty altogether. Indeed, if we were to
      accept the premise that a carrier's ability to fire or
      discipline individual employees is an "effective"
      remedy for a union's status quo violations, a status
      quo injunction could never issue against a union,
      since in virtually every case an employer presumably
      could take some such measures. Such an interpretation
      would eviscerate the status quo provisions of the RLA.

IAM, 243 F.3d at 363-64. Thus, an injunction against defendants

would be the only practical and effective means of enforcing

their duty to "exert every reasonable effort" to stop their

members• concerted behavior and restore the status quo. See id.;

TAMPA,   924 F.2d at 1011.

Factual Issue No. 5 ("Whether the requested injunction would
disserve the public interest?"}:

      The entry of a permanent injunction would not disserve the

public interest. As explained,      the concerted job action of

defendants' members has caused flight delays and cancellations,

inconveniencing the public and disrupting commerce. And, as

stated, defendants have failed to "exert every reasonable

effort" to maintain the status quo, necessitating the entry of

such an injunction to enforce that duty and avert any future

disruption to commerce, which would likely continue without one.


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           Defendants argued that certain provisions of plaintiff's

 proposed permanent injunction (doc. 120) would harm public

 safety. First, they dispute the provision of paragraph (o) that

 they must "take all reasonable actions .                                    to ensure that

 their members .                    achieve approximately,                in the aggregate, on

 a seven-day moving average basis, overnight productivity levels

equal to the aggregate status quo overnight productivity level

 that was achieved during the same seven-day period in .

2018."        ~at         19-22. They made essentially the same argument in

their motion to reconsider the modified TRO. Doc. 112. The

court,         in its order denying the motion, adequately addressed

that argument when it stated:

            [T]hey have provided nothing in support of that
           position that would cause the court to believe that
           the members of defendants do not have good enough
           judgment to know when they are doing something that
           would adversely affect the traveling public, as
           distinguished from taking actions to resume in an
           appropriate manner their normal work activities.''

Doc. 116 at 1-2. Since then, defendants have failed to provide

anything supporting their argument that would cause the court to

change its mind. Defendants' suggestion that paragraph (o)

requires their members to meet a productivity target is false.

That paragraph only requires them to "take all reasonable




20
     The court adopts and incorporates such order by reference into this opinion.

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actions" toward achieving that end, not that they be successful

in doing so.

      In addition, defendants take issue with paragraph (j),

which requires them to:

      Direct[] all officials and members of Defendants .
      to refrain from taking any action in public or private
      communications, such as using "code words," (e.g.,
      'work safe,' 'work to rule,' 'work to contract'), or
      cross-messaging (any statements that undermine or
      contradict, directly or indirectly, the mandate to
      restore normal operations) that could be construed as
      a call for a continued slowdown or non-compliance with
      the Permanent Injunction in any manner.

Doc . 12 0 at App . 0 0 6 ,   ~    (j ) .

      That paragraph does not prohibit defendants or their

officials and members from ever uttering the phrase "work safe";

it only orders defendants to direct their officials and members

to refrain from using such slogans under the narrow

circumstances described in that paragraph. Nor would it disable

defendants' officials and members from talking about safety.

They presumably know the difference between discussing safety

and exclaiming "work safe" as a call to arms.

                                            III.

                                  Conclusions of Law

      In their June 18, 2019 pretrial order, the parties

stipulated to the following list of contested issues of law:

           1.   Whether the Court lacks subject matter
      jurisdiction of this case on the grounds that
      Plaintiff's claim is a "minor dispute" under the RLA?

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           2.   Whether the requirements of Section[] 6 of
      the Norris LaGuardia Act apply to Plaintiff's claim
      against Defendant?
           3.   How the requirements of Section 8 of the
      Norris LaGuardia Act apply to Plaintiff's claim
      against Defendants? Specifically, does it require
      Plaintiff to attempt to make reasonable efforts to
      settle the dispute regarding the formulation of a
      joint collective bargaining agreement or the dispute
      regarding the alleged slowdown?
           4.   Whether Defendants have a legal obligation
      under Section 2, First of the RLA to take all
      reasonable measures to stop concerted activity by
      their members if Defendants have not participated,
      authorized, or ratified it?
           5.   Whether Plaintiff is required to demonstrate
      that injunctive relief is the only practical and
      effective means of enforcing the Defendants'
      obligations under Section 2, First of the RLA?
           6.   Whether Defendants have violated Section 2,
      First of the RLA?
           6.a. If so, whether [plaintiff is] entitled to
      injunctive relief?

Doc. 75 at 19-20.     As to issue number 1, it is settled that

plaintiff's claim is a •major dispute• under the RLA and,

therefore, the court does not lack subject matter jurisdiction

over this action on that basis: plaintiff's claim arises out of

the parties' negotiation of a new CBA, not the enforcement of an

existing one. See Conrail v. Ry. Labor Executives' Ass'n, 491

U.S. 299, 302   (1989)   (explaining distinction between major and

minor disputes). As to issues 2, 3, 4, and 5, the court issued

on June 28, 2019, a memorandum opinion setting forth its




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 conclusions of law as to those issues.'' Doc. 100. That leaves

 issues 6 and 6a for the court's resolution.

 Legal Issue No. 6 ("Whether Defendants have violated Section 2,
 First of the RLA?"}:

        Section 2, First of the RLA states:

        It shall be the duty of all carriers, their officers,
        agents, and employees to exert every reasonable effort
        to make and maintain agreements concerning rates of
        pay, rules, and working conditions .   . in order to
        avoid any interruption to commerce or to the operation
        of any carrier growing out of any dispute between the
        carrier and the employees thereof.

45 U.S.C.       §   152, First. The Seventh Circuit has explained as

 follows what this provision means for a slowdown like the one

alleged here:

        [T]he RLA's status quo provisions      impose an
       affirmative legal duty upon both employers and unions
       alike--which is enforceable by the courts--to preserve
       the status quo during the bargaining and mediation
       process imposed by the RLA. A union has the
       affirmative duty under the status quo provisions of
       the RLA to exert every reasonable effort to prevent or
       discourage a strike or a concerted work action like
       the slowdown in this case. Once a court determines
       that such a concerted work action is occurring in
       violation of the RLA, an injunction can issue ordering
       the union to observe its statutory duty by trying to
       stop it.

IAM, 243 F.3d at 363; see also Delta Air Lines,                            Inc. v. Air Line

Pilots Ass'n, Int'l, 238 F.3d 1300, 1309 (11th Cir. 2001}

 (holding that injunction was warranted when evidence showed that



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  The court has adopted and incorporated such memorandum opinion by reference into this opinion.
Supra note 4.


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there was concerted work action and union failed to exert every

reasonable effort to try to stop it) . The RLA not only prohibits

strikes, but any action that has the consequences of a strike-a

disruption to commerce or plaintiff's operations. Allied Pilots

Ass'n v. Am. Airlines, Inc., 643 F. Supp. 2d 123, 127-28            (D.D.C.

2009)    (citing Nat'l R.R. Passenger Corp. v. Transp. Workers

UnionofAm., 373F.3dl21, 124-26           (D.C. Cir. 2004)).

        Thus, to show that defendants violated Section 2, First of

the RLA, plaintiff must show:       (1) defendants' members have

changed their normal working behavior on a concerted basis,

disrupting commerce or plaintiff's operations, and (2)

defendants failed to exert every reasonable effort to prevent or

stop such concerted activity. As explained under the heading

"Findings of Fact," plaintiff has established each of those

facts.

        Defendants suggested that they had no duty to •exert every

reasonable effort" for a few reasons. First, they argued that

the court cannot hold defendants liable under the RLA for

actions permitted by the parties' CBA. Doc. 125 at 13 n.18. The

court disagrees.    •section 2, First prohibits employees from

engaging in concerted action to put economic pressure on the

carrier even where the employees have a right under the existing




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collective bargaining agreement to take the action in question.•

united Air Lines, Inc. v. Air Line Pilots Ass'n,          Int'l,

No. 08-CV-4317, 2008 WL 4936847, at *40 (N.D. Ill. Nov. 17,

2008), aff'd, 563 F.3d 257      (7th Cir. 2009)     (citing Delta, 238

F.3d at 1308-09; IAM, 243 F.3d at 360).

      Second, defendants suggested that they should not be held

liable under the RLA because they complied with the court's TRO.

Doc. 125 at 14. It would make no sense to allow defendants to

escape liability on that basis. Doing so would excuse parties on

both sides of labor disputes from complying with their duty to

do everything reasonable to maintain the status quo, so long as

they complied with an order issued after they already destroyed

it. In any case,    the concerted activity of defendants' members

may not have stopped and may continue in the absence of a

permanent injunction. See United, 2008 WL 4936847 at *43.

Moreover, the TRO will expire upon the issuance of the final

judgment in this action. Doc. 78. Denying plaintiff a permanent

injunction will leave it with nothing enforcing defendants'

obligations under Section 2, First of the RLA.

      For those reasons, the court finds that defendants have

violated Section 2, First of the RLA.




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Legal Issue No. 6.a ("If [defendants have violated Section 2,
First of the RLA], whether [plaintiff is] entitled to injunctive
relief?"):

      The plaintiff must also show that an injunction "is the

only practical, effective means of enforcing the duty to exert

every reasonable effort to make and maintain agreements."

Chicago & N.W. Ry. Co. v. United Transp. Union,          402 U.S. 570,

583   (1971). And, the plaintiff must show that issuance of an

injunction is equitable under the circumstances. See Winter v.

Nat. Res. Def. Council, Inc., 555 u.s. 7, 32 (2008)           ("An

injunction is a matter of equitable discretion; it does not

follow from success on the merits as a matter of course."). The

Supreme Court has stated as follows the legal standard generally

applicable to requests for permanent injunctions:

      According to well-established principles of equity, a
      plaintiff seeking a permanent injunction must satisfy
      a four-factor test before a court may grant such
      relief. A plaintiff must demonstrate: (1) that it has
      suffered an irreparable injury; (2) that remedies
      available at law, such as monetary damages, are
      inadequate to compensate for that injury; ( 3) that,
      considering the balance of hardships between the
      plaintiff and defendant, a remedy in equity is
      warranted; and (4) that the public interest would not
      be disserved by a permanent injunction.

eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

However, "[t]he district courts have subject-matter jurisdiction

to enjoin a violation of the status quo pending completion of

the required procedures, without the customary showing of

irreparable injury." Consol. Rail Corp. v. Ry. Labor Exec.

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Ass'n, 491 U.S. 299, 303      (1989). Moreover, there is no monetary

remedy for violations of Section 2, First. Burlington N. & Santa

Fe. Ry. Co. v. Bhd. of Maint. of Way Emps., 286 F.3d 803, 808

 (5th Cir. 2002).

      Thus, to show that it is entitled to injunctive relief,

plaintiff must show:     (1) an injunction is the only practical and

effective means of enforcing defendants' duty to exert every

reasonable effort to make and maintain agreements,           (2)

considering the balance of hardships between plaintiff and

defendants, an injunction is warranted, and (3) a permanent

injunction would not disserve the public interest.

      As explained under the heading "Findings of Fact,"

plaintiff has shown that an injunction is the only practical and

effective means of enforcing that duty. Supra at 16-17. Second,

the entry of a permanent injunction is warranted considering the

balance of hardships. An injunction would only order defendants

to do what Section 2, First of the RLA already requires them to

do. Plaintiff, on the other hand, would face extraordinary harm

in the absence of an injunction. Plaintiff has already shown

that the concerted activity of defendants' members has caused

flight delays and cancellations, disrupting its operations and

likely tarnishing its reputation among affected members of the




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 flying public." Those effects would likely continue in the

 absence of a permanent injunction. Thus, whatever harm,                                         if any,

 the entry of a permanent injunction would cause defendants pales

 in comparison to the irreparable harm plaintiff would suffer

 without it. See US Airways, Inc. v. U.S. Airline Pilots Ass'n,

 813 F. Supp. 2d 710,                 736-37      (W.D.N.C. 2011). Third, as

 explained, the entry of a permanent injunction would not

 disserve the public interest. Therefore, the court finds that

plaintiff is entitled to a permanent injunction.

           As for what form that injunction should take, defendants

 take issue with certain provisions of plaintiff's proposed

permanent injunction (doc. 12 0) . None of those arguments have

merit. First, defendants object to the proposed injunction's

permanence, arguing that at some point, the mediation process

may end and defendants may be allowed to engage in self-help.

Doc. 125 at 18-19. If that happens, defendants can file a motion

to set aside the injunction, but the court will not limit its

injunction based on events that may or may not happen at some

indefinite point in time.

           Second, defendants dispute the provision of paragraph (o)

that they •take all reasonable actions .                                   . to ensure that

their members .                     achieve approximately, in the aggregate,                             on



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     For that reason, plaintiff has also shown irreparable injury, although such a showing is not required.


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a seven-day moving average basis, overnight productivity levels

equal to the aggregate status quo overnight productivity level

that was achieved during the same seven-day period in .

2018."   ~at    19-22. They argued that the paragraph is too vague

to satisfy the requirement of Rule 65 (d) (1) (B)- (C) of the

Federal Rules of Civil Procedure that "[e]very order granting an

injunction          state its terms specifically; and describe in

reasonable detail .       . the act or acts restrained or required."

Injunctions cannot be so narrow as to allow for easy evasion.

McComb v. Jacksonville Paper Co., 336 U.S. 187, 192-93            (1949)

For that reason, injunctions to follow the law are often

necessary to restrain repeat violators of the law, who might

otherwise find cunning ways to evade narrow orders.            See id.     As

the Fifth Circuit has stated:

      While injunctions should be specific, the command for
      specificity is not absolute; it merely requires
      injunctions to be framed so that those enjoined will
      know what conduct the court has prohibited. The mere
      fact that interpretation is necessary does not render
      the injunction so vague and ambiguous that a party
      cannot know what is expected of him.

Martin's Herend Imports,     Inc. v. Diamond & Gem Trading United

States Co., 195 F.3d 765, 772      (5th Cir. 1999). The court is

satisfied that paragraph (o)      is specific enough to comply with

Rule 65. It does not require that defendants do anything more

than what the RLA already requires of them, which is to "exert




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every reasonable effort" to restore the status quo. See

 45 u.s.c.         §   152, First.

           Defendants also argued that paragraph (j)                           is a prior

restraint. ' 3 Doc. 125 at 23. That paragraph is not a prior

restraint, because it restrains no speech; it only orders

defendants to direct their officials and. members to refrain from

using certain speech as a way of enforcing defendants' existing

obligations to •exert every reasonable effort" to restore the

status quo. If defendants' airectives fall on deaf ears, then so

be it, but that paragraph censors no one."

           Finally, defendants object to paragraphs (d),                              (e),    (f), and

 (k) as unwarranted and duplicative of similar provisions in the

modified TRO. Those provisions are necessary to ensure that

defendants' members are apprised of the permanent injunction.

           For those reasons, the court finds that plaintiff's

proposed permanent injunction would appropriately enforce

defendants' duties under Section 2, First of the RLA.




23
     See page 19, supra, for the relevant language ofthat paragraph.
24
   Defendants did not make a First Amendment objection to any other provision of the proposed
injunction, so the cotnt considers it that defendant has no such objections. As to those other provisions,
the court notes that the District of Columbia Circuit has recently upheld similar language against a First
Amendment challenge, although it did not address the prior restraint issue specifically. See Atlas Air, Inc.
v. 1nt'l l3hd. ofTeamsters, 928 F.3d 1102,1119 (D.C. Cil". 2019).


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                                      IV.

                                Conclusion

      Plaintiff has shown that defendants' members conducted a

concerted slowdown, defendants abdicated their duty to take

every reasonable action to prevent or stop it, plaintiff is

entitled to a permanent injunction to enforce that duty,           and the

entry of its proposed permanent injunction is an appropriate

means to do so. Accepting defendants' arguments to the contrary

would require the court to ignore the evidence and abandon

common sense. Accordingly, the court will enter the proposed

permanent injunction forthwith.

      SIGNED August 12, 2019.


                                  /
                                      nited States             Judge




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